       Case 2:00-cr-00345-FCD Document 158 Filed 11/17/06 Page 1 of 2



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 9                    IN THE UNITED STATES DISTRICT COURT

10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,    )
12                                ) No. CR S-00-345 FCD
                   Plaintiff,     )
13                                ) STIPULATION RE:
              v.                  ) CONTINUANCE OF APPEARANCE
14                                ) ON SUPERVISED RELEASE
     RICHARD SHEARER,             ) VIOLATION PETITION
15                                )
                   Defendant.     )
16   _____________________________)

17       The United States of America, by its attorney, Benjamin B.

18   Wagner, Assistant United States Attorney, and defendant Richard

19   Shearer, through his attorney Oscar Stilley, hereby jointly

20   request and stipulate as follows:

21       1.   A sworn supervised release petition was filed in this case

22   on November 8, 2006, conferring jurisdiction on this Court to take

23   action on the petition, including revocation, regardless of the

24   ending date of the defendant's term of supervision.

25       2.   The parties request that the initial appearance on the

26   supervised release petition, currently scheduled for Monday,

27   November 20, 2006, at 10 am, be continued four weeks until

28   December 18, 2006, at 10:00 am.       The reason for the requested

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       Case 2:00-cr-00345-FCD Document 158 Filed 11/17/06 Page 2 of 2



 1   continuance is to facilitate defense attorney Stilley's travel

 2   from Arkansas, and to allow the parties an opportunity to evaluate

 3   tax returns which the defendant filed with the IRS since the

 4   filing of the petition in this case.

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 6   SO STIPULATED AND AGREED:

 7       DATED: November 17, 2006             McGREGOR W. SCOTT
                                              United States Attorney
 8
                                             /S/ Benjamin Wagner
 9                                        By:___________________________
                                             BENJAMIN B. WAGNER
10                                           Assistant U. S. Attorney

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12                                             /S/ Oscar Stilley*
         DATED: November 17, 2006             _____________________________
13                                            OSCAR STILLEY
                                              Counsel for defendant Easely
14
                                      *signed by BBW, with Mr. Stilley's
15                                     permission, after being read to him
                                       by telephone
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17       IT IS SO ORDERED:

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20   DATED:__________                 ___________________________
                                      HON. FRANK C. DAMRELL
21                                    United States District Court Judge

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